                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF WISCONSIN
                         MILWAUKEE DIVISION

BRIAN COWAN, DALE DEFORD,                      )
ISSIAH LAIRDS, KENNETH DIRKSON,                )     No. 2:16 CV 1102
and ALTON ANTRIM,                              )
                Plaintiffs,                    )
                                               )
                 v.                            )
                                               )
THE CITY OF KENOSHA,                           )
WISCONSIN,                                     )
                                               )
                      Defendant.               )     Jury Demand


           COMPLAINT FOR CIVIL RIGHTS VIOLATIONS,
     DECLARATORY JUDGMENT AND OTHER INJUNCTIVE RELIEF

      Plaintiffs BRIAN COWAN, DALE DEFORD, ISSIAH LAIRDS, KENNETH

DIRKSON, and ALTIN ANTRIM individually, by their undersigned attorneys,

complain against the Defendant City of Kenosha, Wisconsin, as follows:

                                   Nature of the Case

      1.      This is an action pursuant to 42 U.S.C. §1983 and 28 U.S.C. §2201

challenging the constitutionality of certain provisions of Section 11.033 of the

Municipal Code of the City of Kenosha, Wisconsin (2011), titled “Sexual Offender

Residency Restrictions,” (the “Ordinance”). A copy of the Ordinance is attached

hereto as Exhibit A. Plaintiffs challenge the restrictions in the Ordinance that

prohibit sex offenders from residing in certain locations within the City of Kenosha.

Plaintiffs contend that certain of these restrictions violate the Ex Post Facto Clause

and the Fourteenth Amendment of the United States Constitution.

      In particular, Plaintiffs challenge the following provisions of the Ordinance:
                                           1

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       (1)      §11.033 (C)(1)(c): This provision prohibits Designated Offenders1 from
                establishing a Permanent Residence or Temporary Residence2 within a
                six (6) block radius of an existing Permanent Residence or Temporary
                Residence of another Designated Offender;

       (2)      §11.033 (C)(1)(a) and (b): These two provisions set forth the distances
                that Designated Offenders are permitted to live from “Prohibited
                Locations.”3 The applicable distance differs based on whether the
                offender was placed in his or her residence by the Wisconsin
                Department of Corrections (“DOC”). In particular, §11.033 (C)(1)(a)
                prohibits Designated Offenders from establishing a Permanent or
                Temporary Residence within two thousand and five hundred feet
                (2,500') of a Prohibited Location when they are not placed in their
                residence by the DOC, while subsection §11.033 (C)(1)(b) prohibits
                Designated Offenders from establishing a Permanent or Temporary
                Residence within five hundred feet (500') of a Prohibited Location when
                they are placed in their residence by the DOC;

       (3)      §11.033 (B)(6): This provision defines a “Prohibited Location” to
                include a “place of worship” and thus prohibits Designated Offenders
                from establishing a Permanent or Temporary Residence within either



1      Sec. B(2) of the Ordinance defines “Designated Offender” as follows:

       any person who is required to register under Section 301.45, Wisconsin

       any person who is required to register under Section 301.45, Wisconsin
       Statutes, for any sexual offense against a child, or any person who is required
       to register under Section 301.45, Wisconsin Statutes, and who has been
       designated a Special Bulletin (SBN) sex offender pursuant to Sections
       301.46(2) and (2m), Wisconsin Statutes.

2       Sec. B(4) of the Ordinance defines “Permanent Residence” as “a place where the
Designated Offender lodges or resides for fourteen (14) or more consecutive days.” Sec. B(5)
of the Ordinance defines “Temporary Residence” as “a place where the person abides, lodges
or resides for a period of fourteen (14) or more days in the aggregate during any calendar
year and which is not the person's permanent address; or a place where the person
routinely abides, lodges or resides for a period of four (4) or more consecutive or
nonconsecutive days in any month and which is not the person's Permanent Residence.”

3      Sec. B(6) of the Ordinance defines “Prohibited Locations” as follows:

       any school property, licensed daycare center, park, trail, playground, place of
       worship, or any other place designated by the City as a place where children are
       known to congregate.
                                             2

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                five hundred feet (500') or two thousand and five hundred feet (2,500')
                of a “place of worship,” the applicable distance again depending on
                whether the offender was placed in his or her residence by the DOC;
                and

       (4)      §11.033 (B)(6): This provision defines a “Prohibited Location” to
                include “any other place where children are known to congregate” and
                thus prohibits Designated Offenders from establishing a Permanent or
                Temporary Residence within either five hundred feet (500') or two
                thousand and five hundred feet (2,500') of a “any other place where
                children are known to congregate,” the applicable distance again
                depending on whether the offender was placed in his or her residence
                by the DOC.

       Plaintiffs seek temporary and permanent injunctive relief, as well as

declaratory relief, on the grounds that these four subsections of the Ordinance are,

individually and in combination, unconstitutional on their face and as applied.

Plaintiffs also seek nominal and compensatory damages for the injuries associated

with the deprivation of their constitutional rights.

                                Jurisdiction and Venue

       2.       Jurisdiction is proper in this court pursuant to 28 U.S.C. §1331

because this action arises under federal law. Specifically, this case arises under 42

U.S.C. §1983 and alleges violations of the Ex Post Facto Clause and Plaintiffs’

rights under the Fourteenth Amendment to the United States Constitution.

       3.       Venue is proper in this district pursuant to 28 U.S.C. §1391(b), as a

substantial part of the events giving rise to Plaintiffs’ claims occurred in the

Eastern District of Wisconsin.

       4.       Declaratory relief is authorized under 28 U.S.C. § 2201. A declaration

of law is necessary and appropriate to determine the respective rights and duties of

parties to this action.

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                                     The Parties

      5.      Plaintiff Brian Cowan is a 58-year-old resident of Kenosha, Wisconsin.

He has resided in Kenosha since 1987. Plaintiff Cowan is a Designated Offender

under the Ordinance.

      6.      Plaintiff Dale DeFord is a 58-year-old resident of Kenosha, Wisconsin.

He has resided in Kenosha his entire life. Plaintiff DeFord is a Designated Offender

under the Ordinance.

      7.      Plaintiff Issiah Lairds is a 61-year-old homeless resident of Kenosha,

Wisconsin. He has resided in Kenosha since 2003. Plaintiff Lairds is a Designated

Offender under the Ordinance.

      8.      Plaintiff Kenneth Dirkson is a 69-year-old resident of Pleasant Prairie,

Wisconsin. He has lived in Pleasant Prairie since early 2015. Plaintiff Dirkson is a

Designated Offender under the Ordinance.

      9.      Plaintiff Alton Antrim is a 60-year-old resident of Pleasant Prairie,

Wisconsin. He has lived in Pleasant Prairie since 2013. Plaintiff Alton Antrim is a

Designated Offender under the Ordinance.

      10.     The City of Kenosha is a municipal corporation located in Kenosha

County, Wisconsin. Defendant is governed by an elected Mayor and Common

Council, which, among other things, is empowered to enact ordinances under its

home rule authority.




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                      The Particular Provisions of the Law
                            at Issue in this Lawsuit

      11.    Four of the challenged provisions of the Ordinance — §11.033 (C)(1)(c)

(the six-block radius provision), §11.033 (C)(1)(a) and (b) (which prohibit Designated

Offenders from living within 500' or 2,500' of Prohibited Locations), and §11.033

(B)(6) (which defines any place of worship as a Prohibited Location) — violate the

Ex Post Facto Clause of the U.S. Constitution, individually and/or in combination,

because they apply retroactively and so severely disable or restrain the ability of

Designated Offenders to reside in Kenosha as to amount to a penalty and effectively

serve as de facto banishment from the City.

      12.    In addition, §11.033 (C)(1)(c) (the six-block radius provision) and

§11.033 (B)(6) (which defines any place of worship as a Prohibited Location) also

violate the Fourteenth Amendment of the U.S. Constitution because they are

irrational and do not serve to protect the safety of the public. Concerning §11.033

(C)(1)(c) (the six-block radius provision), there is no rational basis for not allowing

Designated Offenders to live within six blocks of one another. Concerning §11.033

(B)(6) (which defines any place of worship as a Prohibited Location), there is no

rational basis for prohibiting Designated Offenders from living near places of

worship (in contrast to schools, daycare centers, playgrounds or other places where

children congregate), if the rationale for the restrictions is to limit Designated

Offenders’ interactions with children as a means to protect children from harm.

      13.    Sections 11.033 (C)(1)(a) and (b) of the Ordinance (which distinguish

how far a Designated Offender must live from a Prohibited Location depending on

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whether the offender was placed by the DOC or not) violates the Equal Protection

Clause of the Fourteenth Amendment of the U.S. Constitution because there is no

rational basis for drawing this distinction between the two classes of offenders.

      14.    Finally, §11.033 (B)(6) violates the Fourteenth Amendment of the

United States Constitution because the phrase “any other place where children are

known to congregate” fails to provide sufficient clarity to allow a person of ordinary

intelligence to understand and discern precisely what conduct is prohibited and fails

to provide sufficient guidance to law enforcement officials and prosecutors, which

thereby encourages arbitrary enforcement. As such, this provision violates the void-

for-vagueness doctrine under the Fourteenth Amendment.

                                Factual Allegations

Brian Cowan

      15.    Cowan is a 58-year-old resident of Kenosha who pled guilty in 1999 to

one count of First-Degree sexual assault of a minor (Wisc. Stats. §948.02(1)). As a

result of his conviction, he is a Designated Offender under the Ordinance.

      16.    Cowan was sentenced to eight years in prison and 20 years probation.

      17.    Cowan was released from prison in 2004 and is currently on probation.

      18.    Cowan currently lives in Kenosha and has lived there since 1987, with

a few months interlude in California during this period of time. He currently resides

at 5130 21st Ave., a four-unit apartment that has been converted from single-family

home. He pays rent of $675 per month to live there.

      19.    Cowan is presently not working and receives social security payments



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in the amount of $773 per month, plus food stamps in the amount of $192 per

month.

      20.    Cowan currently attends school at Gateway Technical College in

Kenosha and is studying geothermal heating.

      21.    Cowan has lived in his current residence since October 2015.

      22.    Cowan’s current residence is non-complaint with the requirements of

the Ordinance because it is located one block away from a church (e.g., the

Reformation Church, located at 1920 52nd St.) and one block away from a school

(e.g., Friedens Elementary, located at 5038 19th Ave.)

      23.    Cowan’s address is well-known to enforcement authorities, since (1) he

is legally required to register the address with the Wisconsin Sex Offender Registry

Office; (2) the address is publicly listed as Cowan’s residence on the Wisconsin State

Sex Offender Registry (available at http://doc.wi.gov/community-resources/wi-sex-

offender-registry); and (3) Cowan’s probation agent routinely does home visits to his

residence (at least once a month).

      24.    Cowan lives in fear that at any time he could be forced to move and/or

returned to prison for living in violation of the Ordinance’s residency restrictions.

      25.    Indeed, prior to living at his current address, Cowan lived in a two-

unit building at 26th and 67th Street in Kenosha. He lived with his roommate,

Dennis Knipple, a Designated Offender under the terms of the Ordinance, who was

also a Special Bulletin Notice (SBN) offender. Cowan and his roommate lived in the

upstairs unit. A woman and her four-year-old child lived in the downstairs unit.



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Cowan lived at this particular location with his roommate for three months

       26.   This particular residence was also non-complaint with the

requirements of the Ordinance because §11.033 (C)(1)(c) of the Ordinance prohibits

any Designated Offender from living within six blocks of another Designated

Offender, but Plaintiff Cowan and his roommate were both Designated Offenders.

      27.    The enforcement authorities were fully aware of Cowan’s and his

roommate’s living arrangements. Indeed, it was probation officers themselves who

actually placed Mr. Knipple to live with Plaintiff Cowan, thinking that Plaintiff

Cowan would be a good influence on Mr. Knipple.

      28.    In October 2015, after the woman downstairs complained to the police

about Plaintiff Cowan’s roommate, the enforcement authorities forced Plaintiff

Cowan to move within three days, whereupon Cowan moved to his current non-

compliant address.

      29.    This incident is typical of the enforcement practices in Kenosha, where

the authorities (1) allow Designated Offenders to move from one non-compliant

address to another; and (2) haphazardly and randomly enforce the Ordinance’s

residency restrictions, thereby leaving Designated Offenders subject the whim of

authorities’ arbitrary enforcement practices and in a constant state of fear that they

will be forced to move at a moment’s notice and/or returned to prison for violating

the Ordinance’s residency restrictions.

Dale DeFord

      30.    Dale DeFord is a 58-year-old resident of Kenosha who was found guilty



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in 2004 of one count of Child Enticement in Wisconsin (Wisc. Stats. 948.07(6)).

        31.   DeFord has been designated as a “Special Bulletin” offender and as

such is deemed a Designated Offender under the Ordinance.4

        32.   For his 2004 offense, DeFord was sentenced to one year in prison and

10 years probation.

        33.   Due to probation violations in association with his 2004 offense,

DeFord was last released from prison in 2013.

        34.   DeFord currently lives in Kenosha at 2932 73rd Street, in Unit #4 on

the second floor of a four-unit house. No other designated offender lives in the

building. He pays $600 a month to live there. He has lived there since February

2014.

        35.   DeFord does not work; he receives social security disability payments

in the amount of $951.00 per month, plus food stamps in the amount of $144 per

month.

        36.   DeFord lives at his current location because there was, and continues

to be, no other available apartments in Kenosha that are compliant with the

Ordinance.

        37.   Prior to moving to this location, DeFord searched for five months for an

apartment in Kenosha and called at least 100 people with apartments for rent, but

not one other apartment was available to him either (1) because the landlord



4      On information and belief, Kenosha police enforce the Ordinance most strictly
against Special Bulletin Offenders (“SBNs”), but even with regard to SBNs, they do not
enforce the Ordinance consistently.
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refused to rent to a sex offender or (2) the apartment was non-complaint with

§11.033 (C)(1)(c) of the Ordinance due to the fact that other Designated Offenders

already lived within a six-block radius of the proposed apartment.

      38.    But for the Ordinance’s six-block restriction and Prohibited Locations

restrictions, DeFord would have been able to find cheaper housing. Indeed, prior to

moving to his current location, he had sought to live in an apartment located at

65th St. and 7th Ave. for $450 per month, but it was non-compliant due to the six-

block restriction.

      39.    When DeFord moved to his current address two and a half years ago, it

was the only apartment he could find in compliance with the Ordinance’s

restrictions. Now, in fact, DeFord’s apartment is in non-compliance with the

Ordinance. That is because numerous Designated Offenders have been allowed to

move within a six-block radius of DeFord’s apartment over the last two and a half

years. On information and belief, there are now at least nine Designated Offenders

who live within a six-block radius of DeFord’s current address at 2932 73rd Street.

(Map available at: http://www.city-data.com/so/sexoffenders.html)

Issiah Lairds

      40.    Lairds is a 61-year-old resident of Kenosha who pled guilty in 2004 to

one count of Second-Degree Sexual Assault of a Child (Wisc. Stats. §948.02(2)). As a

result of this conviction, he is a Designated Offender under the Ordinance.

      41.    Lairds also has been designated as a “Special Bulletin” offender and as

such is deemed a Designated Offender under the Ordinance



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      42.      For his 2004 offense, Lairds was sentenced to 10 years in prison and no

probation.

      43.      Lairds was released from prison in 2008 and is currently on extended

supervision for the remainder of his 10-year sentence.

      44.      Lairds has been homeless since June 6, 2016 when he was released

from the Kenosha County jail, after serving two months for violating his extended

supervision.

      45.      Lairds is presently homeless because, as an SBN offender, he is unable

to find any housing in Kenosha City that is compliant with the Ordinance.

      46.      In his efforts to obtain housing in Kenosha, Lairds has provided his

supervising agent numerous potential addresses for him to live in Kenosha, but

they have all been rejected as non-compliant with the Ordinance.

      47.      Lairds’ supervising agent has not been able to provide him any

addresses for him to reside in Kenosha that are compliant with the Ordinance and

has told Laird to “keep on trying.”

      48.      Lairds presently lives in his car in the parking lot of the parole office in

downtown Kenosha, located at 1212 60th St.

      49.      Lairds’ homeless status is well-known to enforcement authorities, since

(1) he is legally required to register as homeless with the Wisconsin Sex Offender

Registry Office; (2) his status as homeless is publicly listed on the Wisconsin State

Sex Offender Registry at http://doc.wi.gov/community-resources/wi-sex-offender-

registry; and (3) he has regular conversations with his supervision agent about his



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inability to find compliant housing in Kenosha. Indeed, he is required to report in

daily with her about his efforts to find such housing and where he slept the night

before.

      50.      Lairds is presently employed part-time at Arvato Digital Services, a

packager of flash drives, located in Pleasant Prairie, Wisconsin, where he is

employed as an assembly-line worker. In addition, he receives food stamps in the

amount of $194 per month.

      51.      Lairds lives in fear that at any time he could be forced to return to

prison for being homeless.

Kenneth Dirkson

      52.      Dirkson is a 68-year-old resident of Pleasant Prairie, Wisconsin, who

pled guilty in the early 1980s to one count of Sexual Assault in Mississippi and in

1992 to one count of First-Degree Sexual Assault in Wisconsin (Wisc. Stats.

940.225(1)).

      53.      Dirkson has been designated as a “Special Bulletin” offender and as

such is deemed a Designated Offender under the Ordinance.

      54.      For his 1992 offense, Dirkson was sentenced to 20 years in prison, plus

20 years probation.

      55.      Dirkson was released from prison in October 2014.

      56.      Dirkson currently has 18 more years of probation.

      57.      Dirkson is handicapped and unable to walk or stand easily, suffering

from diabetes, arthritis, heart disease and depression



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      58.    Dirkson does not work; he receives social security payments in the

amount of $814.00 per month, plus food stamps in the amount of $92 per month.

      59.    Dirkson desires to live in Kenosha because he attends church there on

a twice-weekly basis (Thursday and Sunday) at the New Song Ministry, and he

visits his doctors in Kenosha at least once a month. There is no public

transportation in southwest Pleasant Prairie, and Plaintiff Dirkson does not own a

car and cannot drive. In order for Dirkson to get to Kenosha, he must arrange his

own private transportation.

      60.    Since his release from prison, Dirkson has sought to find housing in

Kenosha by searching through newspaper advertisements, by having friends search

on Craigslist, by talking to people, including his probation officer, but he has been

unable to find any compliant housing,

      61.    As an SBN offender, it is virtually impossible for Plaintiff Dirkson to

find housing in Kenosha. On at least six separate occasions, Dirkson’s request for

housing in Kenosha has been denied as non-compliant with the Ordinance because

other Designated Offenders already live within a six-block radius of the residence.

Alton Antrim

      62.    Antrim is a 60-year-old resident of Pleasant Prairie who was found

guilty in 1990 of one count of First-Degree Sexual Assault in Wisconsin (Wisc. Stats.

948.02(1)) and pled guilty in 1998 to one count of First-Degree Sexual Assault in

Wisconsin (Wisc. Stats. 948.02(1)).

      63.    Antrim has been designated as a “Special Bulletin” offender and as



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such is deemed a Designated Offender under the Ordinance.

      64.    For his 1990 offense, Antrim was sentenced to six months in jail and

six years probation.

      65.    For his 1998 offense, Antrim was sentenced to 20 years in prison.

      66.    Antrim served 14 years and seven months in prison for his 1998

offense and was released in July 2013, and upon his release was given four years,

five months probation. Antrim’s probation ends in October 2018.

      67.    Antrim currently lives in Pleasant Prairie at the King’s Motel and has

lived there since July 2013, with a few months’ interlude.

      68.    Antrim pays $620.00 per month to reside at the King’s Motel.

      69.    Antrim does not work; he receives social security payments in the

amount of $814.00 per month, plus food stamps in the amount of $91 per month.

      70.    Antrim is the full-time caretaker for his wife, who has polio and cannot

walk. She lives in Kenosha City in government-subsidized low-income housing.

      71.    Antrim would like to live with his wife, but he cannot live with her

because individuals required to register as sex offenders, such as Antrim, are

prohibited from living in government-subsidized housing.

      72.    Antrim also seeks to move to Kenosha City in order to be closer to his

wife, but as an SBN offender, it is virtually impossible for Antrim to find housing in

Kenosha.

      73.    Since his release from prison, Antrim has been actively seeking to find

housing in Kenosha by searching through newspaper advertisements and talking to



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friends who have access to the internet and housing websites, but he has been

unable to find any available housing anywhere in Kenosha.

      74.    Every time Antrim has offered a housing suggestion in Kenosha to his

probation officer (on at least five occasions) it has been rejected as non-compliant

because other Designated Offenders already live within a six-block radius of the

proposed residence.

                      Allegations Common to All Plaintiffs

      75.    Each of the Plaintiffs in this case is harmed by the Ordinance’s broad

restrictions on where Designated Offenders can live because the Ordinance closes

off the vast majority of housing in Kenosha to Designated Offenders, thereby

effectively banishing them from living anywhere in Kenosha.

      76.    In particular, §11.033 (C)(1)(c)’s prohibition on Designated Offenders

living within a six-block radius of one another, both alone and in combination with

§11.033 (C)(1)(a) and (b)’s prohibition on Designated Offenders residing within

either 500 or 2,500 feet of schools, day cares, parks or places of worship, makes it

nearly impossible for Designated Offenders to find compliant housing.

      77.    §11.033 (C)(1)(c)’s six-block restriction prohibits Designated Offenders

from living in the same apartment building as another Designated Offender, which

severely restricts their ability to find compliant housing since Designated Offenders

are most likely to be able to afford to reside only in apartments or low-cost

residential hotels and are rarely candidates to buy or rent single-family homes. See

In Re Taylor, 60 Cal 4th 1019,1030 (Calif., March 2, 2015) (noting that when



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assessing the impact of residency restrictions, the appropriate measure is not all

available housing in the area, but the availability of affordable housing of the type

that registrants are likely to rent: multi-family units for $850 per month or less.)

      78.    The prohibition on Designated Offenders living in a six-block radius is

sui generis. No other municipality in Kenosha County has such a restriction.

      79.    Perhaps the best indication of the devastating effects of §11.033

(C)(1)(c)’s restrictions on the ability of Designated Offenders to find compliant

housing in Kenosha is that, for all intents and purposes, the City of Kenosha’s own

policing agencies have opted not to enforce the restrictions except with regard to

SBN offenders, knowing that the enforcement of the challenged restrictions would,

practically speaking, preclude the City from meeting the residency needs of

Designated Offenders.5

      80.    For example, despite §11.033 (C)(1)(c)’s restrictions on Designated

Offenders living within a six-block radius of one another, there are at least three

apartment building in Kenosha City which house multiple Designated Offenders,

including (1) 409 59th St., where at least 10 Designated Offenders reside; (2) 6011

30th Ave., where at least five Designated Offenders reside; and (3) 2204 60th St.,

where at least five Designated Offenders reside.

      81.    The severe restrictions imposed by the six-block restriction are

compounded by the prohibition on Designated Offenders living within 500' or 2,500'

feet of a school, day care, park or place of worship.


5     The effect of enforcement of the challenged restrictions would be to throw many
Designated Offenders into homelessness, thereby subverting public safety.
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      82.      On information and belief, there are 58 schools6; 92 day cares7; 63

parks8; and 50-60 churches9 in Kenosha.

      83.      These restrictions, both alone and in combination with the six-block

restriction, also severely limit Designated Offenders’ ability to find compliant

housing.

      84.      As with the six-block residency restriction, the policing agencies also

often turn a blind eye to these restrictions.

      85.      Plaintiff Brian Cowan’s situation is typical, since, as explained in ¶21

above, Cowan’s current residence is located within one block from a church (e.g., the

Reformation Church, located at 1920 52nd St.) and one block from a school (e.g.,

Friedens Elementary, located at 5038 19th Ave.) but the compliance agencies have

turned a blind-eye to his residence being non-compliant with the Ordinance.

      86.      In general, the City’s enforcement agencies opt to enforce the

restrictions in an arbitrary and capricious manner.




6     See, http://kc-web-01.kenoshacounty.org/InteractiveMapping

7    See, http://childcarefinder.wisconsin.gov/Search/SearchResults.aspx?q=FF-F0-DC-
9E:MHwwfHx8fEtFTk9TSEF8fDMwfFRydWV8VHJ1ZXxUcnVlfFRydWV8VHJ1ZXxUcnVlf
FRydWV8VHJ1ZXxUcnVlfFRydWV8VHJ1ZXxUcnVlfFRydWV8VHJ1ZXxUcnVlfFRydWV8
LTF8LTF8RmFsc2V8MnxifDB8MHx8ZHxGYWxzZXwwfEZhbHNl

8     See, http://kc-web-01.kenoshacounty.org/InteractiveMapping

9       See,
https://www.google.com/#q=places+of+worship+kenosha+wi&rflfq=1&rlha=0&rllag=425759
56,-87848059,2330&tbm=lcl&tbs=lf:1,lf_ui:1
                                           17

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      87.    As a result, individuals live in constant terror of being found in

violation of the residency restrictions and forced into homelessness and/or being

forced to go back to prison.

      88.    All of the Plaintiffs are subject to the irrational difference in treatment

between offenders who are placed in their housing by the department of corrections

and those who find their own housing.

                                  COUNT I
               VIOLATION OF THE EX POST FACTO CLAUSE
              (Monell Express Policy Claim For Declaratory and
                   Injunctive Relief and Money Damages)

      89.    Plaintiffs reallege and reincorporate, as though fully set forth herein,

each and every allegation above.

      90.    The Ordinance violates the Ex Post Facto Clause of the U.S.

Constitution, Art. I, § 10, cl. 1, because it makes more burdensome the punishment

imposed for offenses committed prior to enactment of the Ordinance and it applies

retroactively—that it applies to all individuals deemed “Designated Offenders” who

committed their offenses before enactment of the Ordinance.

      WHEREFORE, Plaintiffs respectfully request that this Court:

      (a)    issue a preliminary and then permanent injunction prohibiting
             retroactive enforcement of the Ordinance;

      (b)    issue a declaratory judgment that states that retroactive application of
             the Ordinance violates the prohibition in the United States
             Constitution against ex post facto laws;

      (c)    award Plaintiffs nominal and/or compensatory damages;

      (d)    enter judgment for reasonable attorney’s fees and costs incurred in
             bringing this action; and

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      (e)    grant Plaintiffs any other relief the Court deems appropriate.

                                 COUNT II
   42 U.S.C. § 1983: FOURTEENTH AMENDMENT EQUAL PROTECTION
              (Monell Express Policy Claim For Declaratory and
                   Injunctive Relief and Money Damages)

      91.    Plaintiffs reallege and reincorporate, as though fully set forth herein,

each and every allegation above.

      92.    The Equal Protection Clause of the Fourteenth Amendment commands

that no State shall “deny to any person within its jurisdiction the equal protection of

the laws,” which the Supreme Court has explained means that “all persons

similarly situated should be treated alike” unless the difference in treatment is

“rationally related to a legitimate state interest.”

      93.    Sections 11.033 (C)(1)(a) and (b) of the Ordinance distinguish how far a

Designated Offender must live from Prohibited Locations depending on whether the

offender was placed by the DOC or not—requiring those placed by DOC to live 500'

from Prohibited Locations and those not placed by DOC to live 2,500' from

Prohibited Locations.

      94.    The difference in treatment between Designated Offenders who were

placed by DOC and Designated Offenders who found their own housing is not

rationally related to a legitimate state interest and thus fails rational basis review.

      WHEREFORE, Plaintiffs respectfully request that this Court:

      (a)    issue a preliminary and then permanent injunction prohibiting
             enforcement of §11.033 (C)(1)(a) and (b) of the Ordinance;




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      (b)    issue a declaratory judgment that §11.033 (C)(1)(a) and (b) of the
             Ordinance is unconstitutional both on its face and as applied to
             Plaintiffs;

      (c)    award Plaintiffs nominal and/or compensatory damages;

      (d)    enter judgment for reasonable attorney’s fees and costs incurred in
             bringing this action; and

      (e)    grant Plaintiffs any other relief the Court deems appropriate.

                                 COUNT III
       42 U.S.C. § 1983: FOURTEENTH AMENDMENT DUE PROCESS
             (Monell Express Policy Claim For Declaratory and
                  Injunctive Relief and Monetary Damages)

      95.    Plaintiffs reallege and reincorporate, as though fully set forth herein,

each and every allegation above.

      96.    The prohibitions set forth in §11.033 (B)(6) (defining “Prohibited

Locations” to include “place[s] of worship”) and §11.033 (C)(1)(c) (prohibiting

Designated Offenders from living within six blocks of any other Designated

Offender) are not rationally related to a legitimate state interest and thus fails

rational basis review.

      WHEREFORE, Plaintiffs respectfully request that this Court:

      (a)    issue a preliminary and then permanent injunction prohibiting
             enforcement of §11.033 (B)(6)’s prohibition on Designated Offenders
             living within 500' or 2,500' of a place of worship and §11.033 (C)(1)(c)’s
             prohibition on Designated Offenders from living within six blocks of
             any other Designated Offender.

      (b)    issue a declaratory judgment that §§11.033 (B)(6) and (C)(1)(c) of the
             Ordinance are unconstitutional both on their face and as applied to
             Plaintiffs;

      (c)    award Plaintiffs nominal and/or compensatory damages;



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      (d)    enter judgment for reasonable attorney’s fees and costs incurred in
             bringing this action; and

      (e)    grant Plaintiffs any other relief the Court deems appropriate.



                                COUNT IV
             42 U.S.C. § 1983: FOURTEENTH AMENDMENT
                     PROCEDURAL DUE PROCESS
   (Monell Express Policy Claim For Declaratory and Injunctive Relief)

      98.    Plaintiffs reallege and reincorporate, as though fully set forth herein,

each and every allegation contained above.

      99.    The Due Process Clause of the Fourteenth Amendment prohibits the

enforcement of laws that are unconstitutionally vague. As a matter of due process,

statutory requirements must be written with sufficient clarity that persons of

ordinary intelligence need not guess at their meaning.

      100.   Section 11.033(B)(6)’s restriction on Designated Offenders living

within 500' or 2500' of “any other place designated by the City as a place where

children are known to congregate” is invalid under the vagueness doctrine because

this provisions fails to provide a person of ordinary intelligence fair notice of what is

required and what is prohibited under the statute, making it impossible for the

Plaintiffs to conform their conduct to the statutory requirements and making it

likely that law enforcement officials will enforce the statutes in different ways in

different places or against different people.

      WHEREFORE, Plaintiffs respectfully request that this Court:

      (a)    issue a preliminary and then permanent injunction prohibiting
             enforcement of §11.033 (B)(6)’s prohibition on Designated Offenders


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             living within 500' or 2,500' of “any other place designated by the City
             as a place where children are known to congregate”;

      (b)    issue a declaratory judgment that §11.033 (B)(6) of the Ordinance is
             unconstitutional both on its face and as applied to Plaintiffs;

      (c)    award Plaintiffs nominal and/or compensatory damages;

      (d)    enter judgment for reasonable attorney’s fees and costs incurred in
             bringing this action; and

      (e)    grant Plaintiffs any other relief the Court deems appropriate.


      Plaintiffs demand trial by jury.

                                              Respectfully submitted,

                                              /s/ Mark G. Weinberg

                                              /s/ Adele D. Nicholas
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